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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MICHAEL ABRAMOWITZ et al.,
Plaintiffs,

v. Civil Action No. 25-cv-0887

KARI LAKE, Senior Advisor to the Acting
CEO of U.S. Agency for Global Media, et al.,

Defendants.

DECLARATION OF JEFF REBER

I, JEFFREY D. REBER, hereby make the following declaration pursuant to 28 U.S.C. § 1746:

1. Ihave been serving in the role of Acting Director of Operations since 05/21/2025.
My previous role was Chief Radio TV Studios, a role I held since June 2024. I base this
declaration on knowledge and information I have gained in the course of performing my official
duties.

2. In that capacity, I] have personal knowledge of, and direct involvement, in the
current broadcasting operations of the Voice of America.

3. Although TV operations has not currently resumed, we are in the process of
resuming operations. Our staff in the building consists of three TV Techs and one Automation
Director/Supervisor. These individuals are system testing and preparing our TV studios for a
return to programming, which we anticipate will occur as soon as we get approval from senior

officials. Up until last week we also had a TV Master Control supervisor in the building. This
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individual ensured that video loops played for our satellite paths and that streaming feeds were
recorded.

4, Currently in Radio Operations we have one show, which began 05/27/2025. The
show is a live five-minute newscast produced by the Afghan Service. The show airs once a day
Monday-Friday. This show currently airs on four FM Afghan radio stations: FM Radio Raihan
(estimated audience of 120,000 in the center of the Takhar province and sixteen of its districts,
including Khan Abad district in the Kunduz province); FM Pamir Radio (estimated audience of
400,000 in Badakhshan provice, including Fayzabad city, Argo, Khash, Yaftal-e Bala, Yaftal-e
Payin, and Arghanjkhwah); FM Radio Sar E Pul (estimated audience of 150,000 in Sarepul City,
District of Sayed, District Soz Ma Gala, District Sayed Abad); and FM Mehran Radio (estimated
audience of 65,000 in Jawzjan province, including Aqcha, Khwaja Dukoh, Mardian, and
Khangah, Northern Afghanistan). It is also broadcast on shortwave radio that reaches all of
Afghanistan, though large amounts of electricity and electronics interfere with shortwave signal,
making it difficult for any audience in urban areas to receive. Our staff in the building includes
two Radio Broadcast Techs and one Radio Master Control Tech/Supervisor.

5. Currently in the building there is one Broadcast Maintenance
Technician/supervisor, one Digital Support Technician, one Radio/TV Traffic scheduler and one
Digital Management Supervisor. These individuals are responsible for maintaining all our

broadcast systems as well as all working on all Radio and TV technical issues.
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I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 4, 2025
Washington, District Columbia

x cos D (oe

JEFFREY D. REBER

